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 1   DAVID A. TORRES AND ASSOCIATES
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 5
     Attorney for:
 6   JESSE ZAMORA
 7                                  UNITED STATES DISTRICT COURT
 8                          FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10 UNITED STATES OF AMERICA,                           Case No.1:17-CR-00186-DAD-BAM
11                    Plaintiff,
12        v.                                           STIPULATION AND ORDER TO
                                                       CONTINUE SENTENCING HEARING
13 JESSE ZAMORA,

14                    Defendants.
15

16   TO: THE CLERK OF THE UNITED STATES DISTRICT COURT, HONORABLE DALE A.
17   DROZD AND JEFFERY SPIVAK, ASSISTANT UNITED STATES ATTORNEY:
18          COMES NOW Defendant, JESSE ZAMORA, by and through his attorney of record,

19   DAVID A. TORRES hereby requesting that the sentencing hearing currently set for Monday,

20   April 30, 2018 be continued to May 14, 2018. It is further requested that the Pre-sentencing

21   investigation report be available to the court and all counsel on April 2, 2018; Informal objections

22   due April 16, 2018 and objections due April 30, 2018.

23          1. Mr. Zamora’s sentencing is currently scheduled for Monday, April 30, 2018, in order

24              for the draft PSI to be completed timely, the USPO interview must have been

25              conducted by Monday, February 26, 2018. On that day, I began an attempted murder

26              preliminary hearing in state court and was unable to accompany Mr. Zamora for the

27              interview. I prefer to be present for the interview.

28          2. I have met with Mr. Zamora and he agrees to exclude time for sentencing to May 14,
                                                      1
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 1               2018, to allow counsel and USPO Natali Flores to reschedule the probation interview

 2               for a time that I can be present. ASUA Spivak does not object to the extension of time

 3               for sentencing.

 4
            IT IS SO STIPULATED.
 5                                                               Respectfully Submitted,
     DATED: February 27, 2018                                    /s/ David A Torres          ___
 6                                                               DAVID A. TORRES
                                                                 Attorney for Defendant
 7
                                                                 JESSE ZAMORA
 8

 9   DATED: February 27, 2018                                    /s/Jeffery Spivak __ ________
10                                                               JEFFERY SPIVAK
                                                                 Assistant U.S. Attorney
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13                                               ORDER
            IT IS HEREBY ORDERED that the sentencing date currently scheduled for April 30,
14
     2018 is continued to May 14, 2018.
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16   IT IS SO ORDERED.

17      Dated:     March 1, 2018
                                                         UNITED STATES DISTRICT JUDGE
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